                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                           3:08-CR-00134-RJC-DSC
 USA                                        )
                                            )
    v.                                      )              ORDER
                                            )
 JOHNNY ELIAS GONZALEZ (18)                 )
                                            )

         THIS MATTER is before the Court on the defendant’s Second Motion for

Compassionate Release, (Doc. Nos. 1704, 1705), which he claims follows his request

for relief from the warden of his institution.

         Local Criminal Rule 47.1(D) provides that the government is not required to

respond to pro se motions unless ordered by the Court.

         IT IS, THEREFORE, ORDERED that the government shall file a response to

the Motion for Compassionate Release within fourteen (14) days of the entry of this

Order.

 Signed: October 21, 2020




     Case 3:08-cr-00134-RJC-DSC Document 1707 Filed 10/21/20 Page 1 of 1
